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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                           Case No. 19-mj-70677-MAG-1 (KAW)
                                   8                       Plaintiff,
                                                                                             ORDER REQUIRING
                                   9               v.                                        SUPPLEMENTAL BRIEFING
                                  10     DON KOLLMAR,                                        Re: Dkt. Nos. 4, 9
                                  11                       Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Having reviewed the parties’ briefing regarding bail, the Court requires supplemental

                                  14   briefing on the following:

                                  15          A.        Unusual Delay
                                  16          The Ninth Circuit has acknowledged that “unusual delay in the appeal process” can

                                  17   constitute a special circumstance that justifies bail. Salerno v. United States of America, 878 F.2d

                                  18   317, 317 (9th Cir. 1989); see also In re Requested Extradition of Kirby, 106 F.3d 855, 863 (9th

                                  19   Cir. 1996) (finding unusual delay where extradition hearings were stayed pending the outcome of

                                  20   a similar case, resulting in the three individuals being in custody for two to three and a half years).

                                  21   Defendant argues that litigation will likely be protracted because appeals by either party are likely

                                  22   to be protracted. (Def.’s Response at 12, Dkt. No. 9.) The Court requires additional briefing as to

                                  23   how appeals in this case are likely to result in “unusual delay,” in comparison to other cases. E.g.,

                                  24   United States v. Taitz, 130 F.R.D. 442, 445-46 (S.D. Cal. 1990) (finding special circumstances

                                  25   based on unusual delay where there was a substantial question as to whether the defendant was

                                  26   charged with an extraditable offense, there were two pending extradition cases with similar

                                  27   complex legal questions that had lasted more than six months without an extradition hearing, and

                                  28   the case would likely involve habeas corpus proceedings before the district court and Ninth
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                                   1   Circuit).

                                   2          B.    Delay in Prosecution
                                   3           In United States v. Castaneda-Castillo, the district court found there were special

                                   4   circumstances based on the lack of diplomatic necessity for detention, as the country seeking

                                   5   extradition “has obviously not actively pursued this twenty-five year old charge, thereby resulting

                                   6   in a very lengthy delay.” 739 F. Supp. 2d 49, 57-58 (D. Mass. 2010). The Court requires

                                   7   supplemental briefing as to why the Court should not similarly find special circumstances in the

                                   8   instant case, when forty years have passed since the alleged acts took place, and it is not clear the

                                   9   Canadian authorities pursued charges in the last twenty years.

                                  10          C.    Availability of Bail in Extradition Cases
                                  11           The United States argues that “[t]he availability of bail for the charged offense in the

                                  12   requesting country is not a special circumstance justifying bail.” (USA Memo. at 11, Dkt. No. 4.)
Northern District of California
 United States District Court




                                  13   Some courts, however, have found that the availability of bail is a special circumstance where the

                                  14   country seeking extradition would grant bail to an individual facing extradition for a similar

                                  15   offense.

                                  16           For example, in Taitz, South Africa sought extradition of the defendant on fraud charges.

                                  17   130 F.R.D. at 447. The defendant presented evidence that a South African court had given bail to

                                  18   an individual facing extradition to the United States on charges of making false statements. Id.

                                  19   Reasoning that the false statements charge was “not unlike” the fraud charge, the district court

                                  20   reasoned “there can be no diplomatic concern by South Africa if a United States court releases on

                                  21   bail a person who is facing extradition to South Africa where bail is available in South Africa for

                                  22   persons facing extradition to the United States.” Id.; cf. In re Extradition of Nacif-Borge, 829 F.

                                  23   Supp. 1210, 1220 (D. Nev. 1993) (finding no special circumstances where the defendant

                                  24   “presented no evidence on whether Mexico would grant bail to a U.S. citizen facing extradition for

                                  25   similar income tax charges under equivalent circumstances in Mexico”).

                                  26           The Court requires supplemental briefing as to whether Taitz is persuasive. Additionally,

                                  27   the Court requires further information as to whether Canada would grant bail to an individual

                                  28   facing extradition for charges similar to this case, including any examples of when bail has in fact
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                                   1   been granted.

                                   2          Supplemental briefs are due by Thursday, May 16, 2019 at 10:00 a.m.

                                   3          IT IS SO ORDERED.

                                   4   Dated: May 14, 2019
                                                                                         __________________________________
                                   5                                                     KANDIS A. WESTMORE
                                   6                                                     United States Magistrate Judge

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Northern District of California
 United States District Court




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